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                              UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                     PlLt=JO
UNITED STATES OF AMERICA,                                                                         f7ffAR •7 AH 9: II
                                                         Case No. 17CR0084-W &LERX u
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                                                                                            .,, " •"'•-4 'li'I' ct. t#'ttffM
                                      Plaintiff,                                          'l"f'    ~~If\,)
                      vs.
                                                         JUDGMENT OF DISMISSAL
ADA NEREYDA ARMAS-GARCIA (2)



                                    Defendant.

IT APPEARING that the defendant is now entitled to be discharged for the reason that:

      Remand U.S. Court of Appeals, Previously Imposed Sentence is Hereby Set Aside and
      Vacated, and

      an indictment has been filed in another case against the defendant and the Court has
      granted the motion of the Government for dismissal of this case, without prejudice; or

      the Court has dismissed the case for unnecessary delay; or

X     the Court has granted the motion of the Government for dismissal, without prejudice; or

      the Court has granted the motion of the defendant for a judgment of acquittal; or
      a jury has been waived, and the Court has found the defendant not guilty; or

      the jury has returned its verdict, finding the defendant not guilty;

X     of the offense(s) as charged in the Indictment:

      21USC952 AND 960: 18 USC 2 -Importation ofMethamphetamine and Aiding and
        Abettin

            IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.

 Dated: 31612017                                                                 )
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                                                    Hon. Thomi'J. Whel~n
                                                    United State/ District Judge
